                             Case 24-10528-TMH                      Doc 1        Filed 03/20/24            Page 1 of 42

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 24-10528-TMH                  Doc 1        Filed 03/20/24              Page 2 of 42

Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                                Case 24-10528-TMH                Doc 1       Filed 03/20/24            Page 3 of 42

Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                             Case 24-10528-TMH                   Doc 1         Filed 03/20/24            Page 4 of 42

Debtor      _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                        Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                            50-99                               5,001-10,000                             50,001-100,000
     creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                            $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on _________________
                                                        MM / DD / YYYY


                                             _____________________________________________               _______________________________________________
                                            Signature of authorized representative of debtor             Printed name


                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                          Case 24-10528-TMH                   Doc 1          Filed 03/20/24        Page 5 of 42

Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                          _____________________________________________            Date       _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         _________________________________________________________________________________________________
                                         Printed name

                                         _________________________________________________________________________________________________
                                         Firm name

                                         _________________________________________________________________________________________________
                                         Number     Street

                                         ____________________________________________________            ____________ ______________________________
                                         City                                                            State        ZIP Code

                                         ____________________________________                            __________________________________________
                                         Contact phone                                                   Email address



                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
               Case 24-10528-TMH           Doc 1    Filed 03/20/24      Page 6 of 42




                                           SCHEDULE 1

                     Pending Bankruptcy Cases Filed by Affiliated Entities

        On the date hereof, each of the related entities listed below (collectively, the “Debtors”),
including the debtor in this chapter 11 case, filed a petition in the United States Bankruptcy Court
for the District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532. Contemporaneously with the filing of their voluntary petitions, the
Debtors filed a motion requesting that the Court jointly administer their chapter 11 cases for
administrative purposes only.

                                                                 Federal Employer Identification
     No.                      Entity Name
                                                                   Number (EIN) If Available
      1.       Aledo HCO, LLC                                             XX-XXXXXXX
      2.       Aledo RE, LLC                                              XX-XXXXXXX
      3.       Arcola HCO, LLC                                            XX-XXXXXXX
      4.       Arcola RE, LLC                                             XX-XXXXXXX
      5.       Aspen HCO, LLC                                             XX-XXXXXXX
      6.       Aspen RE, LLC                                              XX-XXXXXXX
      7.       Bement HCO, LLC                                            XX-XXXXXXX
      8.       Bement RE, LLC                                             XX-XXXXXXX
      9.       Betty’s Garden HCO, LLC                                    XX-XXXXXXX
      10.      Betty’s Garden RE, LLC                                     XX-XXXXXXX
      11.      Bradford AL RE, LLC                                        XX-XXXXXXX
      12.      Bushnell AL RE, LLC                                        XX-XXXXXXX
      13.      Casey HCO, LLC                                             XX-XXXXXXX
      14.      Collinsville HCO, LLC                                      XX-XXXXXXX
      15.      Collinsville RE, LLC                                       XX-XXXXXXX
      16.      CYE Bradford HCO, LLC                                      XX-XXXXXXX
      17.      CYE Bushnell HCO, LLC                                      XX-XXXXXXX
      18.      CYE Girard HCO, LLC                                        XX-XXXXXXX
      19.      CYE Kewanee HCO, LLC                                       XX-XXXXXXX
      20.      CYE Kewanee- PHC, Inc.                                     XX-XXXXXXX
      21.      CYE Knoxville - PHC, Inc                                   XX-XXXXXXX
      22.      CYE Knoxville HCO, LLC                                     XX-XXXXXXX
      23.      CYE Monmouth - PHC, Inc                                    XX-XXXXXXX
      24.      CYE Monmouth HCO, LLC                                      XX-XXXXXXX
      25.      CYE Sullivan HCO, LLC                                      XX-XXXXXXX
      26.      CYE Walcott HCO, LLC                                       XX-XXXXXXX
      27.      CYV Kewanee AL RE, LLC                                     XX-XXXXXXX
      28.      Decatur HCO, LLC                                           XX-XXXXXXX
      29.      Decatur RE, LLC                                            XX-XXXXXXX
      30.      Eastview HCO, LLC                                          XX-XXXXXXX
      31.      Eastview RE, LLC                                           XX-XXXXXXX
      32.      Effingham HCO, LLC                                         XX-XXXXXXX
       Case 24-10528-TMH        Doc 1       Filed 03/20/24   Page 7 of 42




                                                      Federal Employer Identification
No.                  Entity Name
                                                        Number (EIN) If Available
 33.   Effingham RE, LLC                                       XX-XXXXXXX
 34.   El Paso - PHC, Inc                                      XX-XXXXXXX
 35.   El Paso HCC, LLC                                        XX-XXXXXXX
 36.   El Paso HCO, LLC                                        XX-XXXXXXX
 37.   Flanagan - PHC, Inc.                                    XX-XXXXXXX
 38.   Flanagan HCC, LLC                                       XX-XXXXXXX
 39.   Flanagan HCO, LLC                                       XX-XXXXXXX
 40.   Havana HCO, LLC                                         XX-XXXXXXX
 41.   Havana RE, LLC                                          XX-XXXXXXX
 42.   Jonesboro, LLC                                          XX-XXXXXXX
 43.   Kewanee AL, LLC                                         XX-XXXXXXX
 44.   Kewanee HCO, LLC                                        XX-XXXXXXX
 45.   Kewanee, LLC                                            XX-XXXXXXX
 46.   Knoxville & Pennsylvania, LLC                           XX-XXXXXXX
 47.   Knoxville AL, LLC                                       XX-XXXXXXX
 48.   Lebanon HCO, LLC                                        XX-XXXXXXX
 49.   Lebanon RE, LLC                                         XX-XXXXXXX
 50.   Legacy - PHC Inc.                                       XX-XXXXXXX
 51.   Legacy Estates AL, LLC                                  XX-XXXXXXX
 52.   Legacy HCO, LLC                                         XX-XXXXXXX
 53.   Macomb, LLC                                             XX-XXXXXXX
 54.   Marigold - PHC Inc                                      XX-XXXXXXX
 55.   Marigold HCC, LLC                                       XX-XXXXXXX
 56.   Marigold HCO, LLC                                       XX-XXXXXXX
 57.   MBP Partner, LLC                                           N/A
 58.   McLeansboro HCO, LLC                                    XX-XXXXXXX
 59.   McLeansboro RE, LLC                                     XX-XXXXXXX
 60.   Midwest Health Operations, LLC                          XX-XXXXXXX
 61.   Midwest Health Properties, LLC                          XX-XXXXXXX
 62.   Monmouth AL, LLC                                        XX-XXXXXXX
 63.   North Aurora HCO, LLC                                   XX-XXXXXXX
 64.   North Aurora, LLC                                       XX-XXXXXXX
 65.   Petersen 23, LLC                                        XX-XXXXXXX
 66.   Petersen 25, LLC                                        XX-XXXXXXX
 67.   Petersen 26, LLC                                        XX-XXXXXXX
 68.   Petersen 27, LLC                                        XX-XXXXXXX
 69.   Petersen 29, LLC                                        XX-XXXXXXX
 70.   Petersen 30, LLC                                        XX-XXXXXXX
 71.   Petersen Farmer City, LLC                               XX-XXXXXXX
 72.   Petersen Health & Wellness, LLC                         XX-XXXXXXX
 73.   Petersen Health Business, LLC                           XX-XXXXXXX
 74.   Petersen Health Care - Farmer City, LLC                 XX-XXXXXXX
 75.   Petersen Health Care - Illini, LLC                      XX-XXXXXXX

                                        2
       Case 24-10528-TMH       Doc 1       Filed 03/20/24   Page 8 of 42




                                                     Federal Employer Identification
No.                 Entity Name
                                                       Number (EIN) If Available
 76.   Petersen Health Care - Roseville, LLC                  XX-XXXXXXX
 77.   Petersen Health Care II, Inc.                          XX-XXXXXXX
 78.   Petersen Health Care III, LLC                          XX-XXXXXXX
 79.   Petersen Health Care Management, LLC                   XX-XXXXXXX
 80.   Petersen Health Care V, LLC                            XX-XXXXXXX
 81.   Petersen Health Care VII, LLC                          XX-XXXXXXX
 82.   Petersen Health Care VIII, LLC                         XX-XXXXXXX
 83.   Petersen Health Care X, LLC                            XX-XXXXXXX
 84.   Petersen Health Care XI, LLC                           XX-XXXXXXX
 85.   Petersen Health Care XIII, LLC                         XX-XXXXXXX
 86.   Petersen Health Care, Inc.                             XX-XXXXXXX
 87.   Petersen Health Enterprises, LLC                       XX-XXXXXXX
 88.   Petersen Health Group, LLC                             XX-XXXXXXX
 89.   Petersen Health Network, LLC                           XX-XXXXXXX
 90.   Petersen Health Properties, LLC                        XX-XXXXXXX
 91.   Petersen Health Quality, LLC                           XX-XXXXXXX
 92.   Petersen Health Systems, Inc.                          XX-XXXXXXX
 93.   Petersen Management Company, LLC                       XX-XXXXXXX
 94.   Petersen MT, LLC                                       XX-XXXXXXX
 95.   Petersen MT3, LLC                                      XX-XXXXXXX
 96.   Petersen MT4, LLC                                      XX-XXXXXXX
 97.   Petersen Roseville, LLC                                XX-XXXXXXX
 98.   Piper HCO, LLC                                         XX-XXXXXXX
 99.   Piper RE, LLC                                          XX-XXXXXXX
100.   Pleasant View HCO, LLC                                 XX-XXXXXXX
101.   Pleasant View RE, LLC                                  XX-XXXXXXX
102.   Polo - PHC, Inc.                                       XX-XXXXXXX
103.   Polo HCO, LLC                                          XX-XXXXXXX
104.   Polo, LLC                                              XX-XXXXXXX
105.   Prairie City HCO, LLC                                  XX-XXXXXXX
106.   Prairie City RE, LLC                                   XX-XXXXXXX
107.   Robings HCO, LLC                                       XX-XXXXXXX
108.   Robings, LLC                                           XX-XXXXXXX
109.   Rosiclare HCO, LLC                                     XX-XXXXXXX
110.   Rosiclare RE, LLC                                      XX-XXXXXXX
111.   Royal HCO, LLC                                         XX-XXXXXXX
112.   Royal RE, LLC                                          XX-XXXXXXX
113.   SABL, LLC                                              XX-XXXXXXX
114.   SC Healthcare Holding, LLC                             XX-XXXXXXX
115.   Shangri La HCO, LLC                                    XX-XXXXXXX
116.   Shangri La RE, LLC                                     XX-XXXXXXX
117.   Shelbyville HCO, LLC                                   XX-XXXXXXX
118.   Shelbyville RE, LLC                                    XX-XXXXXXX

                                       3
       Case 24-10528-TMH    Doc 1       Filed 03/20/24   Page 9 of 42




                                                  Federal Employer Identification
No.                Entity Name
                                                    Number (EIN) If Available
119.   SJL Health Systems, Inc.                            XX-XXXXXXX
120.   South Elgin, LLC                                    XX-XXXXXXX
121.   Sullivan AL RE, LLC                                 XX-XXXXXXX
122.   Sullivan HCO, LLC                                   XX-XXXXXXX
123.   Sullivan RE, LLC                                    XX-XXXXXXX
124.   Swansea HCO, LLC                                    XX-XXXXXXX
125.   Swansea RE, LLC                                     XX-XXXXXXX
126.   Tarkio HCO, LLC                                     XX-XXXXXXX
127.   Tarkio RE, LLC                                      XX-XXXXXXX
128.   Tuscola HCO, LLC                                    XX-XXXXXXX
129.   Tuscola RE, LLC                                     XX-XXXXXXX
130.   Twin HCO, LLC                                       XX-XXXXXXX
131.   Twin RE, LLC                                        XX-XXXXXXX
132.   Vandalia HCO, LLC                                   XX-XXXXXXX
133.   Vandalia RE, LLC                                    XX-XXXXXXX
134.   Village Kewanee HCO, LLC                            XX-XXXXXXX
135.   Walcott AL RE, LLC                                  XX-XXXXXXX
136.   War Drive, LLC                                      XX-XXXXXXX
137.   Watseka HCO, LLC                                    XX-XXXXXXX
138.   Watseka RE, LLC                                     XX-XXXXXXX
139.   Westside HCO, LLC                                   XX-XXXXXXX
140.   Westside RE, LLC                                    XX-XXXXXXX
141.   XCH, LLC                                            XX-XXXXXXX




                                    4
                         Case 24-10528-TMH             Doc 1   Filed 03/20/24   Page 10 of 42
DocuSign Envelope ID: 044D8C45-D819-4328-AC9B-C7C2A90FA1DF




                                            JOINT WRITTEN CONSENT
                                                      OF
                     THE SOLE SHAREHOLDER AND DIRECTOR OF PETERSEN HEALTH CARE, INC.,
                    THE SOLE SHAREHOLDER AND DIRECTOR OF PETERSEN HEALTH CARE II, INC.,
                   THE SHAREHOLDERS AND SOLE DIRECTOR OF PETERSEN HEAL TH SYSTEMS, INC.,
                                  THE MEMBERS AND MANAGER OF ALEDO HCO, LLC,
                                THE SOLE MEMBER AND MANAGER OF ALEDO RE, LLC,
                                 THE MEMBERS AND MANAGER OF ARCOLA HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF ARCOLA RE, LLC,
                                  THE MEMBERS AND MANAGER OF ASPEN HCO, LLC,
                                THE SOLE MEMBER AND MANAGER OF ASPEN RE, LLC,
                                 THE MEMBERS AND MANAGER OF BEMENT HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF BEMENT RE, LLC,
                         THE SOLE MEMBER AND MANAGER OF BETTY'S GARDEN HCO, LLC,
                          THE SOLE MEMBER AND MANAGER OF BETTY'S GARDEN RE, LLC,
                           THE SOLE MEMBER AND MANAGER OF BRADFORD AL RE, LLC,
                           THE SOLE MEMBER AND MANAGER OF BUSHNELL AL RE, LLC,
                                  THE MEMBERS AND MANAGER OF CASEY HCO, LLC,
                             THE MEMBERS AND MANAGER OF COLLINSVILLE HCO, LLC
                           THE SOLE MEMBER AND MANAGER OF COLLINSVILLE RE, LLC,
                            THE MEMBERS AND MANAGER OF CYE BRADFORD HCO, LLC,
                            THE MEMBERS AND MANAGER OF CYE BUSHNELL HCO, LLC,
                           THE SOLE MEMBER AND MANAGER OF CYE GIRARD HCO, LLC,
                             THE MEMBERS AND MANAGER OF CYE SULLIVAN HCO, LLC,
                            THE MEMBERS AND MANAGER OF CYE WALCOTT HCO, LLC,
                         THE SOLE MEMBER AND MANAGER OF CYV KEWANEE AL RE, LLC
                                THE MEMBERS AND MANAGER OF DECATUR HCO, LLC,
                              THE SOLE MEMBER AND MANAGER OF DECATUR RE, LLC,
                               THE MEMBERS AND MANAGER OF EASTVIEW HCO, LLC,
                             THE SOLE MEMBER AND MANAGER OF EASTVIEW RE, LLC,
                              THE MEMBERS AND MANAGER OF EFFINGHAM HCO, LLC,
                            THE SOLE MEMBER AND MANAGER OF EFFINGHAM RE, LLC,
                                 THE MEMBERS AND MANAGER OF HAVANA HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF HAVANA RE, LLC,
                              THE SOLE MEMBER AND MANAGER OF JONESBORO, LLC,
                                THE SOLE MEMBER AND MANAGER OF KEWANEE, LLC,
                               THE MEMBERS AND MANAGER OF KEWANEE HCO, LLC,
                     THE SOLE MEMBER AND MANAGER OF KNOXVILLE & PENNSYLVANIA, LLC,
                                THE MEMBERS AND MANAGER OF LEBANON HCO, LLC,
                              THE SOLE MEMBER AND MANAGER OF LEBANON RE, LLC,
                                THE SOLE MEMBER AND MANAGER OF MACOMB, LLC,
                             THE SOLE MEMBER AND MANAGER OF MBP PARTNER, LLC,
                            THE SOLE MEMBER AND MANAGER OF MCLEANSBORO, LLC,
                            THE MEMBERS AND MANAGER OF MCLEANSBORO HCO, LLC,
                          THE SOLE MEMBER AND MANAGER OF MCLEANSBORO RE, LLC,
                    THE SOLE MEMBER AND MANAGER OF MIDWEST HEALTH OPERA TIO NS, LLC,
                    THE SOLE MEMBER AND MANAGER OF MIDWEST HEALTH PROPERTIES, LLC,
                               THE MEMBERS AND MANAGER OF MONMOUTH AL, LLC,
                           THE SOLE MEMBER AND MANAGER OF NORTH AURORA, LLC,
                           THE MEMBERS AND MANAGER OF NORTH AURORA HCO, LLC,
                              THE SOLE MEMBER AND MANAGER OF PETERSEN 23, LLC,
                              THE SOLE MEMBER AND MANAGER OF PETERSEN 25, LLC,
                              THE SOLE MEMBER AND MANAGER OF PETERSEN 26, LLC,
                              THE SOLE MEMBER AND MANAGER OF PETERSEN 27, LLC,
                              THE SOLE MEMBER AND MANAGER OF PETERSEN 29, LLC,
                             THE SOLE MEMBER AND MANAGER OF PETERSON 30, LLC,
                         Case 24-10528-TMH              Doc 1   Filed 03/20/24   Page 11 of 42
DocuSign Envelope ID: 044D8C45-D819-4328-AC98-C7C2A90FA 1DF




                       THE SOLE MEMBER AND MANAGER OF PETERSEN FARMER CITY, LLC,
                       THE MEMBERS AND MANAGER OF PETERSEN HEALTH BUSINESS, LLC,
                  THE MEMBERS AND MANAGER OF PETERSEN HEALTH CARE-FARMER CITY, LLC,
                   THE SOLE MEMBER AND MANAGER OF PETERSEN HEAL TH CARE - ILLINI, LLC,
                THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE MANAGEMENT, LLC,
                 THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE ROSEVILLE, LLC,
                      THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE III, LLC,
                      THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE V, LLC,
                        THE MEMBERS AND MANAGER OF PETERSEN HEALTH CARE VII, LLC,
                     THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE VIII, LLC,
                      THE SOLE MEMBER AND MANAGER OF PETERSEN HEAL TH CARE X, LLC,
                      THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE XI, LLC,
                     THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE XII, LLC,
                     THE SOLE MEMBER AND MANAGER OF PETERSEN HEALTH CARE XIII, LLC,
                     THE MEMBERS AND MANAGER OF PETERSEN HEALTH ENTERPRISES, LLC,
                         THE MEMBERS AND MANAGER OF PETERSEN HEALTH GROUP, LLC,
                       THE MEMBERS AND MANAGER OF PETERSEN HEALTH NETWORK, LLC,
                      THE MEMBERS AND MANAGER OF PETERSEN HEALTH PROPERTIES, LLC,
                       THE MEMBERS AND MANAGER OF PETERSEN HEALTH QUALITY, LLC,
                      THE MEMBERS AND MANAGER OF PETERSEN HEALTH & WELLNESS, LLC,
                 THE SOLE MEMBER AND MANAGER OF PETERSEN MANAGEMENT COMPANY, LLC,
                             THE SOLE MEMBER AND MANAGER OF PETERSEN MT, LLC,
                               THE MEMBERS AND MANAGER OF PETERSEN MT3, LLC,
                            THE SOLE MEMBER AND MANAGER OF PETERSEN MT4, LLC,
                        THE SOLE MEMBER AND MANAGER OF PETERSEN - ROSEVILLE, LLC,
                                  THE MEMBERS AND MANAGER OF PIPER HCO, LLC,
                                THE SOLE MEMBER AND MANAGER OF PIPER RE, LLC,
                           THE MEMBERS AND MANAGER OF PLEASANT VIEW HCO, LLC,
                          THE SOLE MEMBER AND MANAGER OF PLEASANT VIEW RE, LLC,
                             THE MEMBERS AND MANAGER OF PRAIRIE CITY HCO, LLC,
                           THE SOLE MEMBER AND MANAGER OF PRAIRIE CITY RE, LLC,
                                THE SOLE MEMBER AND MANAGER OF ROBINGS, LLC,
                               THE MEMBERS AND MANAGER OF ROBINGS HCO, LLC,
                              THE MEMBERS AND MANAGER OF ROSICLARE HCO, LLC,
                            THE SOLE MEMBER AND MANAGER OF ROSICLARE RE, LLC,
                                 THE MEMBERS AND MANAGER OF ROY AL HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF ROYAL RE, LLC,
                                    THE MEMBERS AND MANAGER OF SABL, LLC,
                        THE MEMBERS AND MANAGERS OF SC HEALTHCARE HOLDING, LLC,
                             THE MEMBERS AND MANAGER OF SHANGRI LA HCO, LLC,
                            THE SOLE MEMBER AND MANAGER OF SHANGRI LA RE, LLC
                            THE MEMBERS AND MANAGER OF SHELBYVILLE HCO, LLC,
                           THE SOLE MEMBER AND MANAGER OF SHELBYVILLE RE, LLC,
                             THE SOLE MEMBER AND MANAGER OF SOUTH ELGIN, LLC,
                           THE SOLE MEMBER AND MANAGER OF SULLIVAN AL RE, LLC,
                              THE MEMBERS AND MANAGER OF SULLIVAN HCO, LLC,
                             THE SOLE MEMBER AND MANAGER OF SULLIVAN RE, LLC,
                               THE MEMBERS AND MANAGER OF SWANSEA HCO, LLC,
                             THE SOLE MEMBER AND MANAGER OF SWANSEA RE, LLC,
                                THE MEMBERS AND MANAGER OF TARKIO HCO, LLC,
                              THE SOLE MEMBER AND MANAGER OF TARKIO RE, LLC,
                               THE MEMBERS AND MANAGER OF TUSCOLA HCO, LLC,
                             THE SOLE MEMBER AND MANAGER OF TUSCOLA RE, LLC,
                                 THE MEMBERS AND MANAGER OF TWIN HCO, LLC,
                                THE SOLE MEMBER AND MANAGER OF TWIN RE, LLC,
                              THE MEMBERS AND MANAGER OF VANDALIA HCO, LLC,


                                                                2
                          Case 24-10528-TMH             Doc 1   Filed 03/20/24   Page 12 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA 1OF




                               THE SOLE MEMBER AND MANAGER OF VANDALIA RE, LLC,
                            THE MEMBERS AND MANAGER OF VILLAGES KEWANEE HCO, LLC,
                              THE SOLE MEMBER AND MANAGER OF WALCOTT AL RE, LLC,
                                THE SOLE MEMBER AND MANAGER OF WAR DRIVE, LLC,
                                THE MEMBERS AND MANAGER OF WATSEKA HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF WATSEKA RE, LLC,
                                THE MEMBERS AND MANAGER OF WESTSIDE HCO, LLC,
                               THE SOLE MEMBER AND MANAGER OF WESTSIDE RE, LLC,
                                                     AND
                                     THE MEMBERS AND MANAGER OF XCH, LLC.


                                                        February 27, 2024

                    The undersigned (collectively, the "Authorized Signatories"), constituting the (1) sole
             shareholder and board of directors of Petersen Health Care, Inc. ("PHC"), (2) sole shareholder
             and board of directors of Petersen Health Care II, Inc. ("PHC II"), (3) sole shareholder and
             board of directors of Petersen Health Systems, Inc. ("PHS"), (4) members and manager of Aledo
            HCO, LLC ("Aledo HCO"), (5) the sole member and manager of Aledo RE, LLC ("Aledo RE"),
             (6) members and manager of Arcola HCO, LLC ("Arcola HCO"), (7) sole member and manager
            of Arcola RE, LLC, ("Arcola RE"), (8) the members and manager of Aspen HCO, LLC ("Aspen
            HCO"), (9) sole member and manager of Aspen RE, LLC ("Aspen RE"), (10) the members and
            manager of Bement HCO, LLC ("Bement HCO"), (11) sole member and manager of Bement
            RE, LLC ("Bement RE"), (12) sole member and manager of Betty's Garden HCO, LLC ("Betty
            HCO"), (13) sole member and manager of Betty's Garden RE, LLC ("Betty RE"), (14) sole
            member and manager of Bushnell AL RE, LLE ("Bushnell"), (15) members and manager of
            Casey HCO, LLC ("Casey"), (16) members and manager of Collinsville HCO, LLC
            ("Collinsville HCO"), (17) sole member and manager of Collinsville RE, LLC ("Collinsville
            RE"), (18) members and manager of CYE Bradford HCO, LLC ("CYE Bradford"), (19)
            members and manager of CYE Bushnell HCO, LLC ("CYE Bushnell"), (20) sole member and
            manager of CYE Girard HCO, LLC ("CYE Girard"), (21) members and manager of CYE
            Sullivan HCO, LLC ("CYE Sullivan"), (22) members and manager of CYE Walcott HCO, LLC
            ("CYE Walcott"), (23) members and manager of CYV Kewanee AL, LLC ("CYV Kewanee"),
            (24) members and manager of Decatur HCO, LLC ("Decatur HCO"), (25) sole member and
            manager of Decatur RE, LLC ("Decatur RE"), (26) members and manager of Eastview HCO,
            LLC ("Eastview HCO"), (27) sole member and manager of Eastview RE, LLC ("Eastview RE"),
            (28) members and manager of Effingham HCO, LLC ("Effingham"), (29) sole member and
            manager of Effingham RE, LLC ("Effingham RE"), (30) members and manager of Havana
            HCO, LLC ("Havana HCO"), (31) sole member and manager of Havana RE, LLC ("Havana
            RE"), (32) sole member and manager of Jonesboro, LLC ("Jonesboro"), (33) sole member and
            manager of Kewanee, LLC ("Kewanee"), (34) members and manager of Kewanee HCO, LLC
            ("Kewanee HCO"), (35) sole member and manager of Knoxville & Pennsylvania, LLC
            ("K&P"), (36) members and manager of Lebanon HCO, LLC ("Lebanon HCO"), (37) sole
            member and manager of Lebanon RE, LLC ("Lebanon RE"), (38) sole member and manager of
            Macomb, LLC ("Macomb"), (39) sole member and manager of MBP Partners, LLC ("MBP"),
            (40) members and manager of McLeansboro, LLC ("McLeansboro"), (41) members and
            manager of McLeansboro HCO, LLC ("McLeansboro HCO"), (42) sole member and manager of
            McLeansboro RE, LLC ("McLeansboro RE"), (43) sole member and manager of Midwest
            Health Operations, LLC ("MHO"), (44) sole member and manager of Midwest Health


                                                                3
                          Case 24-10528-TMH             Doc 1   Filed 03/20/24   Page 13 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA 1DF




             Properties, LLC ("MHP"), (45) sole member and manager of North Aurora, LLC ("North
             Aurora"), (46) members and manager of North Aurora HCO, LLC ("North Aurora HCO"), (4 7)
             sole member and manager of Petersen 23, LLC ("P23"), (48) sole member and manager of
             Petersen 25, LLC ("P25"), (49) sole member and manager of Petersen 26, LLC ("P26"), (50)
             sole member and manager of Petersen 27, LLC ("P27"), (51) sole member and manager of
             Petersen 29, LLC ("P29"), (52) sole member and manager of Petersen 30, LLC ("P30"), (53)
             sole member and manager of Petersen Farmer City, LLC ("PFC"), (54) sole member and
             manager of Petersen Health Business, LLC ("PHB"), (55) members and manager of Petersen
             Health Care-Farmer City, LLC ("PHCFC"), (56) sole member and manager of Petersen Health
             Care Management, LLC ("PHM"), (57) sole member and manager of Petersen Health Care
             Roseville, LLC ("PHR"), (58) sole member and manager of Petersen Health Care III, LLC
             ("PHC III"), (59) sole member and manager of Petersen Health Care V, LLC ("PHC V"), (60)
             sole member and manager of Petersen Health Care VII, LLC ("PHC VII"), (61) sole member and
             manager of Petersen Health Care X, LLC ("PHC X"), (62) sole member and manager of Petersen
             Health Care XI, LLC ("PHC XII"), (63) sole member and manager of Petersen Health Care XII,
             LLC ("PHC XII"), (64) sole member and manager of Petersen Health Care XIII, LLC ("PHC
            XIII"), (65) members and manager of Petersen Health Enterprises, LLC ("PHE"), (66) members
             and manager of Petersen Health Group, LLC ("PHG"), (67) members and manager of Petersen
            Health Network, LLC ("PHN"), (68) members and manager of Petersen Health Properties, LLC
            ("PHP"), (69) members and manager of Petersen Health Quality, LLC ("PHO"), (70) members
            and manager of Petersen Health & Wellness ("PHW"), (71) sole member and manager of
            Petersen Management Company, LLC ("Management"), (72) sole member and manager of
            Petersen MT, LLC ("PMT"), (73) sole member and manager of Petersen MT3, LLC ("PMT3"),
            (74) sole member and manager of Petersen MT4, LLC ("PMT4"), (75) sole member and
            manager of Petersen - Roseville, LLC ("PRY"), (76) members and manager of Piper HCO, LLC
            ("Piper HCO"), (77) sole member and manager of Piper RE, LLC ("Piper RE"), (78) members
            and manager of Pleasant View HCO, LLC ("PVHCO"), (79) sole member and manager of
            Pleasant View RE, LLC ("PYRE"), (80) members and manager of Prairie City HCO, LLC
            ("Prairie HCO"), (81) sole member and manager of Prairie City RE, LLC ("Prairie RE"), (82)
            sole member and manager of Robings, LLC ("Robings"), (83) members and manager of Robings
            HCO, LLC ("Robings HCO"), (84) members and manager of Rosiclare HCO, LLC ("Rosiclare
            HCO"), (85) sole member and manager of Rosiclare RE, LLC ("Rosiclare RE"), (86) members
            and manager of Royal HCO, LLC ("Royal HCO"), (87) sole member and manager of Royal RE,
            LLC ("Royal RE"), (88) members and manager of SABL, LLC ("SABL"), (89) members and
            manager of SC Healthcare Holding, LLC ("SCH Holding"), (90) members and manager of
            Shangri La HCO, LLC ("SLHCO"), (91) sole member and manager of Shangri La RE, LLC
            ("SLRE"), (92) members and manager of Shelbyville HCO, LLC ("Shelbyville HCO"), (93) sole
            member and manager of Shelbyville RE, LLC ("Shelbyville RE"), (94) sole member and
            manager of South Elgin, LLC ("South Elgin"), (95) sole member and manager of Sullivan AL
            RE, LLC ("SALRE"), (96) members and manager of Sullivan HCO, LLC ("Sullivan HCO"),
            (97) sole member and manager of Sullivan RE, LLC ("Sullivan RE"), (98) members and
            manager of Swansea HCO, LLC ("Swansea HCO"), (99) sole member and manager of Swansea
            RE, LLC ("Swansea RE"), (100) members and manager of Tarkio HCO, LLC ("Tarkio HCO"),
            (101) sole member and manager of Tarkio RE, LLC ("Tarkio RE"), (102) members and manager
            of Tuscola HCO, LLC ("Tuscola HCO"), (103) sole member and manager of Tuscola RE, LLC
            ("Tuscola RE"), (104) members and manager of Twin HCO, LLC ("Twin HCO"), (105) sole



                                                                4
                          Case 24-10528-TMH             Doc 1   Filed 03/20/24   Page 14 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA 1DF




             member and manager of Twin RE, LLC ("Twin RE"), (106) members and manager of Vandalia
             HCO, LLC ("Vandalia HCO"), (107) sole member and manager of Vandalia RE, LLC
             ("Vandalia RE"), (108) members and manager of Villages of Kewanee HCO, LLC ("Villages"),
             (109) members and manager of Walcott AL RE, LLC ("WALRE"), (110) sole member and
             manager of War Drive, LLC ("War"), (111) members and manager of Watseka HCO, LLC
             ("Watseka HCO"), (112) sole member and manager of Pleasant View RE, LLC ("Watseka RE"),
             (113) members and manager of Westside HCO, LLC ("Westside HCO"), (114) sole member and
             manager of Westside RE, LLC ("Westside RE") and (115) members and manager of XCH, LLC
             ("XCH", and collectively with PHC, PHC II, PHS, Aledo HCO, Aledo RE, Arcola HCO, Arcola
             RE, Aspen HCO, Aspen RE, Bement HCO, Bement RE, Betty HCO, Betty RE, Bushnell, Casey,
             Collinsville HCO, Collinsville RE, CYE Bradford, CYE Bushnell, CYE Girard, CYE Sullivan,
             CYE Walcott, CYV Kewanee, Decatur HCO, Decatur RE, Eastview HCO, Eastview RE,
             Effingham, Effingham RE, Havana HCO, Havana RE, Jonesboro, Kewanee, Kewanee HCO,
            K&P, Lebanon HCO, Lebanon RE, Macomb, MBP, McLeansboro, McLeansboro HCO,
            McLeansboro RE, MHO, MHP, North Aurora, North Aurora HCO, P23, P25, P26, P27, P29,
            P30, PFC, PHB, PHCFC, PHM, PHR, PHC III, PHC V, PHC VII, PHC X, PHC XII, PHC XII,
            PHC XIII, PHE, PHG, PHN, PHP, PHQ, PHW, Management, PMT, PMT3, PMT4, PRY, Piper
            HCO, Piper RE, PVHCO, PYRE, Prairie HCO, Prairie RE, Robings, Robings HCO, Rosiclare
            HCO, Rosiclare RE, Royal HCO, Royal RE, SABL, SCH Holding, SLHCO, SLRE, Shelbyville
            HCO, Shelbyville RE, South Elgin, SALRE, Sullivan HCO, Sullivan RE, Swansea HCO,
            Swansea RE, Tarkio HCO, Tarkio RE, Tuscola HCO, Tuscola RE, Twin HCO, Twin RE,
            Vandalia HCO, Vandalia RE, Villages, WALRE, War, Watseka HCO, Watseka RE, Westside
            HCO, Westside RE, the "Company Group," and each, a "Company Group Entity"), DO
            HEREBY CONSENT to the taking of the following actions and DO HEREBY ADOPT the
            following resolutions by written consent, in lieu of a special meeting, in each case, in accordance
            with such Company Group Entity's governance documents and the applicable laws of the
            jurisdiction of formation of each Company Group Entity:

                    WHEREAS, the Authorized Signatories have reviewed the materials presented by the
            management and the advisors of the Company Group Entities regarding the liabilities and
            liquidity situation of the Company Group Entities (together with their respective subsidiaries, as
            applicable), the strategic alternatives available to it, and the impact of the foregoing on the
            Company Group Entity's businesses; and

                    WHEREAS, the Authorized Signatories have had the opportunity to consult with the
            management and the advisors of the Company Group Entities and fully consider each of the
            strategic alternatives available to each Company Group Entity.

                    NOW, THEREFORE, BE IT:

                   RESOLVED, that the Authorized Signatories hereby designate a new officer of each
            Company Group Entity, the Chief Restructuring Officer, with such duties and authority as
            Authorized Signatories shall determine, including without limitation, (a) to assist the Company
            Group Entity in all operations including, without limitation, access to and signing authority over
            any and all accounts of the Company Group Entity; (b) to assist the Company Group Entity in
            making all strategic decisions including, without limitation, whether (in the judgment of the
            Chief Restructuring Officer, it is desirable and in the best interests of the Company Group


                                                                5
                         Case 24-10528-TMH             Doc 1   Filed 03/20/24     Page 15 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC9B-C7C2A90FA1DF




            Entities, their respective subsidiaries and affiliates, as applicable), their creditors and other
            parties in interest) to commence a case or cases (the "Case") on behalf of the Company Group
            Entity under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the
            "Bankruptcy Code"); and (c) to execute and file on behalf of the Company Group Entity in the
            United States Bankruptcy Court (the "Bankruptcy Court") all petitions, schedules, lists, motions,
            applications, pleadings and other papers or documents necessary to commence the Case, and take
            any and all further acts and deeds that he, she, or the Authorized Signatories deems necessary,
            proper and desirable in connection with the Case, with a view to the successful prosecution of
            the Case, including but not limited to, retaining counsel and other professionals, causing the
            Company Group Entity to obtain and/or guarantee post-petition financing and/or to obtain the
            consent of the Company Group Entity's existing secured lenders to the use of cash collateral
            according to the terms negotiated, or to be negotiated, by the management of the Company
            Group Entity or otherwise approved by the Bankruptcy Court, and conducting a sale of all or
            substantially all of the Company Group Entity's assets pursuant to section 363 of the Bankruptcy
            Code;

                   FURTHER RESOLVED, that David R. Campbell is hereby appointed to serve as the
            Chief Restructuring Officer;

                   FURTHER RESOLVED, that the appointment of David R. Campbell as the Chief
            Restructuring Officer be, and hereby is, confirmed, ratified, authorized and approved;

             I.      GENERAL AUTHORIZATION

                     FURTHER RESOLVED, that the Authorized Signatories hereby authorize, empower,
            and direct the Chief Restructuring Officer and the officers of the Company Group Entity, on
            behalf of Company Group Entity and in their names, to take all such further actions and to do all
            such things, including, without limitation, paying all such fees and expenses, and arranging for,
            entering into, executing and delivering any and all agreements, amendments, supplements,
            certificates, reports, applications, notices, letters or other documents, as the Chief Restructuring
            Officer and the officers of the Company Group Entity, with the advice of counsel, may approve,
            and to do or cause to be done any and all such other acts and things as, in the opinion of the
            Chief Restructuring Officer and the officers of the Company Group Entity, may be necessary,
            appropriate or desirable in order to enable the Company Group Entity fully and promptly to carry
            out the purposes and intent of the foregoing resolutions and any such action taken or any
            agreement, amendment, certificate, report, application, notice, filing, letter or other document
            executed and delivered by them or any of them in connection with any such action shall be
            conclusive evidence of their or his authority to take, execute and deliver the same;

                    FURTHER RESOLVED, that all actions heretofore taken by each of the Chief
            Restructuring Officer or any representatives or agents of the Company Group Entity or any of
            their affiliates in connection with the foregoing resolutions be, and are hereby ratified, confirmed
            and approved in all respects as the acts and deeds of the Company Group Entity;

                   FURTHER RESOLVED, that the actions taken by this written consent shall have the
            same force and effect as if taken by the undersigned at a meeting, duly called and constituted in
            accordance with the bylaws of the Company Group Entity;


                                                               6
                         Case 24-10528-TMH             Doc 1       Filed 03/20/24   Page 16 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC9B-C7C2A90FA1DF




                   FURTHER RESOLVED, that all the acts of the Chief Restructuring Officer as set forth
            above, which acts would have been authorized by the foregoing resolutions except that such acts
            were taken prior to the adoption of such resolutions, are hereby severally ratified, confirmed and
            approved;

                    FURTHER RESOLVED, that the Authorized Signatories hereby authorize, empower,
            and direct the Chief Restructuring Officer, on behalf of the Company Group Entity and in their
            name, to take such actions as they deem necessary or desirable in order to make the foregoing
            resolutions fully effective; and

                    FURTHER RESOLVED, that this consent may be sent or delivered by facsimile or
            other electronic transmission and in any number of counterparts, each of which shall be an
            original, and such counterparts, when taken together, shall constitute one and same instrument,
            and shall be legally effective for all purposes.

                                                    /signature page follows]




                                                               7
                         Case 24-10528-TMH             Doc 1       Filed 03/20/24     Page 17 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC98-C7C2A90FA1DF




                   IN WITNESS WHEREOF, the undersigned Authorized Signatories have executed this
            written consent as of the date first written above, it being confirmed by such Authorized
            Signatories that this written consent may be delivered to each Company Group Entity by
            facsimile or electronic transmission, with such facsimile to be considered final and effective.



                                                                     PETERSEN HEALTH CARE, INC.

                                                                       fu: Mark Petersen
                                                                       Its: Sole Director and Sole Shareholder


                                                               By:


                                                                     PETERSEN HEALTH CARE II, INC.

                                                                       fu: Mark B. Petersen
                                                                       Its: Sole Director and Sole Shareholder

                                                               By:       ~ t;. PUU'SUA,


                                                                     PETERSEN HEALTH SYSTEMS, INC.

                                                                       B.y: Mark B. Petersen
                                                                       Its: Sole Shareholder and Sole Director

                                                               By:




                                                               8
                         Case 24-10528-TMH              Doc 1         Filed 03/20/24     Page 18 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA 1DF




                                                                        SABL, LLC

                                                                          fu: Mark B. Petersen
                                                                          Its: Member and Manager

                                                                By:
                                                              Name:       Mark B. Petersen


                                                                          By: Petersen Health Care, Inc.
                                                                          Its: Member

                                                                 By:
                                                              Name:        Mark B, Petersen
                                                               Title:     Authorized Signatory

                                                                           fu: Petersen Health Care II, Inc.
                                                                           Its: Member

                                                                 By:
                                                              Name:        Mark B. Petersen
                                                               Title:     Authorized Signatory

                                                                           fu: Petersen Health Systems, Inc.
                                                                           Its: Member

                                                                 By:
                                                              Name:        Mark B. Petersen
                                                               Title:     Authorized Signatory


                                                                        MBP PARTNER, LLC

                                                                          fu: Mark B. Petersen
                                                                          Its: Manager

                                                                By:
                                                              Name:        Mark B. Petersen
                                                               Title:     Authorized Signatory

                                                                          fu: Petersen Health Care III, LLC
                                                                          Its: Member

                                                                By:
                                                              Name:        Mark B. Petersen
                                                               Title:     Authorized Signatory




                                                                  9
                         Case 24-10528-TMH             Doc 1      Filed 03/20/24        Page 19 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       SC HEALTHCARE HOLDINGS, LLC

                                                                         fu: Mark B. Petersen
                                                                         Its: Manager and Member

                                                               By:
                                                             Name:       Mark B. Petersen


                                                                         fu: RASI Entity Staffing, LLC
                                                                         Its:IndependentManager

                                                               By:
                                                             Name:
                                                              Title:                                         r
                                                                         By: Petersen Health Care, Inc.
                                                                         Its: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:     Authorized Signatory


                                                                         fu: Petersen Health Care II, Inc.
                                                                         Its: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory

                                                                         fu: Petersen Health Systems, Inc.
                                                                         Its: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory



                                                                       PETERSEN HEALTH CARE III, LLC


                                                                        fu: Mark B. Petersen
                                                                        Its: Manager and Sole Member

                                                                By:
                         Case 24-10528-TMH             Doc 1       Filed 03/20/24      Page 20 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       PETERSEN HEALTH CARE V, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Manager and Sole Member

                                                                By:


                                                                       PETERSEN HEALTH CARE
                                                                       MANAGEMENT, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Manager and Sole Member

                                                                By:


                                                                       PETERSEN HEALTH CARE
                                                                       ENTERPRISES, LLC

                                                                        fu: SABL, LLC.
                                                                        Its: Member

                                                               By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory



                                                                         fu: Mark B. Petersen
                                                                         Its: Member and Manager

                                                                By:


                                                                       PETERSEN HEALTH GROUP, LLC

                                                                        fu: SABL, LLC.
                                                                        Its: Member

                                                               By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory

                                                                         fu: Mark B. Petersen
                                                                         Its: Member and Manager

                                                                By:




                                                                 11
                         Case 24-10528-TMH             Doc 1      Filed 03/20/24        Page 21 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       PETERSEN MT, LLC

                                                                         fu: Petersen Health Care II, LLC
                                                                         Its: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:     Authorized Signatory

                                                                         fu: Mark B. Petersen
                                                                         Its: Manager

                                                                By:


                                                                       PETERSEN MT3, LLC

                                                                        fu: MB Partner, LLC
                                                                         Its: Member

                                                                By:       ~ fJ. p~~
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                         fu: Mark B. Petersen
                                                                         Its: Manager and Member

                                                                By:       ~fJ.P~~

                                                                       PETERSEN MT4, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager

                                                                By:       ~t>-P~~

                                                                       WAR DRIVE, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager

                                                                By:       ~t>-P~~




                                                                12
                         Case 24-10528-TMH              Doc 1       Filed 03/20/24       Page 22 of 42
DocuSign Envelope ID: 044D8C45-D819-4328-AC98-C7C2A90FA 1DF




                                                                        XCH, LLC

                                                                          fu: Petersen Health Systems, Inc.
                                                                          Its: Member

                                                                By:
                                                              Name:        Mark B. Petersen
                                                               Title:     Authorized Signatory


                                                                           fu: Mark B. Petersen
                                                                           Its: Manager and Member

                                                                 By:


                                                                        PETERSEN MANAGEMENT COMPANY,
                                                                        LLC

                                                                          fu: Petersen Healthcare II, Inc.
                                                                          Its: Sole Member

                                                                 By:
                                                              Name:       Mark B. Petersen
                                                               Title:     Authorized Signatory

                                                                          fu: Mark B. Petersen
                                                                          Its: Manager

                                                                 By:

                                                                        PETERSEN 23, LLC,
                                                                        PETERSEN 26, LLC,
                                                                        PETERSEN 27, LLC
                                                                        PETERSEN 29, LLC and
                                                                        PETERSEN 30, LLC

                                                                         fu: Petersen Healthcare II, Inc.
                                                                         Their: Sole Member

                                                                By:
                                                              Name:       Mark B. Petersen
                                                               Title:    Authorized Signatory

                                                                          fu: Mark B. Petersen
                                                                          Their: Manager

                                                                 By:




                                                                  13
                          Case 24-10528-TMH             Doc 1      Filed 03/20/24      Page 23 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC9B-C7C2A90FA 1DF




                                                                        CYE GIRARD HCO, LLC

                                                                         fu: Mark B. Petersen
                                                                         Its: Sole Member and Manager

                                                                 By:


                                                                        MIDWEST HEALTH OPERATIONS, LLC

                                                                         fu: Mark B. Petersen
                                                                         Its: Member and Manager

                                                                 By:       ~ r;. P~~

                                                                         fu: SABL, LLC
                                                                         Its: Member

                                                                 By:       ~b-P~~
                                                              Name:       Mark B. Petersen
                                                               Title:    Authorized Signatory




                                                                 14
                          Case 24-10528-TMH             Doc 1     Filed 03/20/24     Page 24 of 42
DocuSign Envelope ID: 044O8C45-OB19-4328-AC9B-C7C2A90FA 1DF




                                                                      MIDWEST HEALTH PROPERTIES, LLC

                                                                       fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager

                                                                By:       ~ f;. pu-Ll')UA,


                                                                      PETERSEN HEALTH CARE - ILLINI,
                                                                      LLC

                                                                       fu: Mark B. Petersen
                                                                       Its: Sole Member and Manager

                                                                By:


                                                                      PETERSEN       HEALTH            CARE
                                                                      ROSEVILLE, LLC

                                                                       fu: Mark B. Petersen
                                                                       Its: Sole Member and Manager

                                                                By:


                                                                      PETERSEN ROSEVILLE, LLC

                                                                       fu: Mark B. Petersen
                                                                       Its: Sole Member and Manager

                                                                By:




                                                                15
                         Case 24-10528-TMH             Doc 1       Filed 03/20/24       Page 25 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       ALEDO RE, LLC
                                                                       ARCOLA RE, LLC,
                                                                       ASPEN RE, LLC,
                                                                       BEMENT RE, LLC,
                                                                       BRADFORD AL RE, LLC,
                                                                       BUSHNELL AL RE, LLC,
                                                                       COLLINSVILLE RE, LLC,
                                                                       CYV KEWANEE AL RE, LLC,
                                                                       DECATUR RE, LLC,
                                                                       EASTVIEW RE, LLC,
                                                                       EFFINGHAM RE, LLC,
                                                                       HAVANA RE, LLC,
                                                                       KEWANEE, LLC,
                                                                       LEBANON RE, LLC,
                                                                       MCLEANSBORO RE, LLC,
                                                                       NORTH AURORA, LLC,
                                                                       PETERSEN FARMER CITY, LLC,
                                                                       PIPER RE, LLC,
                                                                       PLEASANT VIEW RE, LLC,
                                                                       PRAIRIE CITY RE, LLC,
                                                                       ROBINGS, LLC,
                                                                       ROSICLARE RE, LLC,
                                                                       ROYAL RE, LLC,
                                                                       SHANGRI LA RE, LLC
                                                                       SHELBYVILLE RE, LLC,
                                                                       SULLIVAN AL RE, LLC,
                                                                       SULLIVAN RE, LLC,
                                                                       SW AN SEA RE, LLC,
                                                                       TARKIO RE, LLC,
                                                                       TUSCOLA RE, LLC,
                                                                       TWIN RE, LLC,
                                                                       VANDALIA RE, LLC,
                                                                       WALCOTT AL RE, LLC,
                                                                       WATSEKA RE, LLC and
                                                                       WESTSIDE RE, LLC

                                                                        fu: SC Healthcare Holdings, LLC
                                                                        Their: Sole Member and Manager

                                                                By:       /ltoJ,{ f;. PUU"S~
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory

                                                                        ACCEPTED AND AGREED:

                                                                        fu: RASI Entity Staffing, LLC
                                                                        Its: Indepe   ent Manager

                                                               By:
                                                             Name:
                                                              Title:




                                                                 16
                         Case 24-10528-TMH             Doc 1           Filed 03/20/24    Page 26 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                        ALEDO HCO, LLC,
                                                                        ARCOLA HCO, LLC,
                                                                        ASPEN HCO, LLC,
                                                                        BEMENT HCO, LLC,
                                                                        CASEY HCO, LLC,
                                                                        COLLINSVILLE HCO, LLC,
                                                                        CYE BRADFORD HCO, LLC,
                                                                        CYE BUSHNELL HCO, LLC,
                                                                        CYE SULLIVAN HCO, LLC,
                                                                        CYE WALCOTT HCO, LLC,
                                                                        DECATUR HCO, LLC,
                                                                        EASTVIEW HCO, LLC,
                                                                        EFFINGHAM HCO, LLC,
                                                                        HAVANA HCO, LLC,
                                                                        KEWANEE HCO, LLC,
                                                                        LEBANON HCO, LLC,
                                                                        MCLEANSBORO HCO, LLC,
                                                                        NORTH AURORA HCO, LLC,
                                                                        PETERSEN HEALTH CARE-FARMER CITY,
                                                                         LLC,
                                                                        PETERSEN HEALTH QUALITY, LLC,
                                                                        PIPER HCO, LLC,
                                                                        PLEASANT VIEW HCO, LLC,
                                                                        PRAIRIE CITY HCO, LLC,
                                                                        ROBINGS HCO, LLC,
                                                                        ROSICLARE HCO, LLC,
                                                                        ROYAL HCO, LLC,
                                                                        SHANGRI LA HCO, LLC
                                                                        SHELBYVILLE HCO, LLC,
                                                                        SULLIVAN HCO, LLC,
                                                                        SWANSEA HCO, LLC,
                                                                        TARKIO HCO, LLC,
                                                                        TUSCOLA HCO, LLC,
                                                                        TWIN HCO, LLC,
                                                                        VANDALIA HCO, LLC,
                                                                        VILLAGES KEWANEE HCO, LLC,
                                                                        WATSEKA HCO, LLC,
                                                                        AND
                                                                        WESTSIDE HCO, LLC,

                                                                         fu: SABL, LLC
                                                                         Their: Member and Manager

                                                                By:
                                                             Name:        Mark B. Petersen
                                                              Title:     Authorized Signatory

                                                                         fu: Mark B. Petersen
                                                                         Their: Member

                                                                By:


                                                                   17
                         Case 24-10528-TMH             Doc 1      Filed 03/20/24       Page 27 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       JONESBORO, LLC,
                                                                       MACOMB, LLC, and
                                                                       SOUTH ELGIN, LLC,

                                                                         fu:    Petersen Health Care III, LLC
                                                                         Their: Sole Member

                                                               By:
                                                             Name:       Mark B. Petersen
                                                              Title:     Authorized Signatory


                                                                         fu: Mark B. Petersen
                                                                         Their: Manager

                                                                By:


                                                                       PETERSEN HEALTH CARE VIII, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager


                                                                By:


                                                                       PETERSEN HEALTH CARE X, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager


                                                               By:


                                                                       PETERSEN HEALTH CARE XI, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Sole Member and Manager


                                                               By:




                                                                18
                         Case 24-10528-TMH             Doc 1      Filed 03/20/24       Page 28 of 42
DocuSign Envelope ID: 044D8C45-DB19-4328-AC9B-C7C2A90FA1DF




                                                                       PETERSEN HEALTH CARE XIII, LLC

                                                                         fu: Mark B. Petersen
                                                                         Its: Sole Member and Manager


                                                                By:


                                                                       PETERSEN HEAL TH BUSINESS, LLC

                                                                        fu: Mark B. Petersen
                                                                         Its: Manager and Member

                                                                By:

                                                                         fu: SABL, LLC
                                                                         Its: Member

                                                               By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                       PETERSEN HEAL TH CARE VII, LLC

                                                                        fu: Mark B. Petersen
                                                                        Its: Member

                                                                By:

                                                                         fu: SABL, LLC
                                                                         Its: Member and Manager

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory




                                                                19
                         Case 24-10528-TMH             Doc 1       Filed 03/20/24       Page 29 of 42
DocuSign Envelope ID: 044D8C45-D819-4328-AC98-C7C2A90FA1DF




                                                                       PETERSEN        HEALTH      &   WELLNESS,
                                                                       LLC

                                                                         fu: Mark B. Petersen
                                                                         Its: Member and Manager

                                                                By:

                                                                         fu: SABL, LLC
                                                                         Its: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:     Authorized Signatory

                                                                       PETERSEN HEALTH NETWORK, LLC,
                                                                       and
                                                                       PETERSEN HEALTH PROPERTIES,
                                                                       LLC.


                                                                        fu: Mark B. Petersen
                                                                        Their: Member and Manager

                                                                By:


                                                                        fu: MBP Partner, LLC
                                                                        Their: Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                       BETT'S GARDEN HCO, LLC,

                                                                        fu:    Petersen Health Systems, Inc.
                                                                        Its: Sole Member

                                                               By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                        fu: Mark B. Petersen
                                                                        Its: Manager

                                                                By:




                                                                20
                         Case 24-10528-TMH             Doc 1      Filed 03/20/24       Page 30 of 42
DocuSign Envelope ID: 044D8C45-D819-4328-AC9B-C7C2A90FA1DF




                                                                       BETTY'S GARDEN RE, LLC,

                                                                        fu:    Petersen Health Systems, Inc.
                                                                        Its: Sole Member and Manager

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                       KNOXVILLE & PENNSYLVANIA, LLC


                                                                        fu: Mark B. Petersen
                                                                        Its: Manager and Sole Member

                                                                By:


                                                                       MCLEANSBORO, LLC,

                                                                        fu:     Petersen Healthcare III, LLC
                                                                        Its: Sole Member

                                                                By:
                                                             Name:       Mark B. Petersen
                                                              Title:    Authorized Signatory


                                                                        fu: Mark B. Petersen
                                                                        Its: Manager

                                                                By:




                                                                21
                         Case 24-10528-TMH              Doc 1      Filed 03/20/24      Page 31 of 42
DocuSign Envelope ID: 044O8C45-DB19-4328-AC9B-C7C2A90FA 1DF




                                                                        NORTH AURORA, LLC

                                                                         fu: SC Healthcare Holdings, LLC
                                                                         Their: Sole Member and Manager

                                                                 By:
                                                              Name:       Mark B. Petersen
                                                               Title:    Authorized Signatory

                                                                         ACCEPTED AND AGREED:

                                                                         fu: RASI Entity Staffing, LLC
                                                                         Its: Inde endent Manager

                                                                 By:
                                                              Name:
                                                               Title:




                                                                 22
                                      Case 24-10528-TMH                       Doc 1          Filed 03/20/24              Page 32 of 42


  Fill in this information to identify the case:
  Debtor name                 SC Healthcare Holding, LLC et al.
  United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                        Check if this is an

  Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number and email              Nature of      Indicate if claim   Amount of claim
  complete mailing address, address of creditor contact                   claim           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                                                      (for           unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                          example,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                          trade debts,                       Total claim, if            Deduction for value        Unsecured claim
                                                                          bank loans,                        partially secured          of collateral or setoff
                                                                          professional
                                                                          services,
                                                                          and
                                                                          government
                                                                          contracts)
  RehabCare (acquired by
  Select Rehabilitation LLC)     Anna Gardina Wolfe
  2600 Compass Road              T: 847-441-5593
  Glenview, IL 60026             E: awolfe@selectrehab.com                Trade          D                                                                               $11,878,868.72
                                 Kristina M. Stanger
  Martin Bros                    Nyemaster Goode P.C.
  406 Viking Road                T: 515-283-8009
  Cedar Falls, IA 50613          E: kmstanger@nyemaster.com               Trade          D                                                                                $8,217,994.66
  Select Rehabilitation LLC      Anna Gardina Wolfe
  2600 Compass Road              T: 847-441-5593
  Glenview, IL 60026             E: awolfe@selectrehab.com                Trade          D                                                                                $6,414,411.48
  Omnicare                       Geoffrey S. Goodman
  Department 781668              Foley & Lardner LLP
  PO Box 78000                   T: 312-832-4514
  Detroit, MI 48278-1668         E: ggoodman@foley.com                    Trade          D                                                                                $2,342,986.38
  McKesson Medical-Surgical
  9954 Mayland Drive Suite       Anna Watkins
  4000                           T: 800-453-5180 ext. 56817
  Richmond, VA 23233             E: Anna.Watkins@McKesson.com             Trade          D                                                                                $1,782,282.36
  Constellation NewEnergy
  Gas Division LLC
  PO Box 5473                    Karen Green
  Carol Stream, IL 60197-        T: 667-313-5472
  5473                           E: Karen.Green@constellation.com         Utility        D                                                                                $1,766,355.53
  Onestaff Medical LLC           Ben Nelson
  10802 Farnam Drive             T: 531-484-2920
  Omaha, NE 68154                E: bnelson@onestaffmedical.com           Trade          D                                                                                $1,141,002.83
  Lawrence Recruiting
  Specialists Inc.
  1120 N. 103rd Plaza, Suite     Paige Wischmann
  300                            T: 402-807-5926
  Omaha, NE 68114                E: pwischmann@lrshealthcare.com          Trade          D                                                                                  $951,877.99
  PEL/VIP                        Raymond Kalinsky
  9840 Southwest Highway         T: 800-779-4231
  Oak Lawn, IL 60453             e: rayjjr@pelvip.com                     Trade          D                                                                                  $607,870.02
  Ginoli & Company LTD
  7625 North University, Suite   Michael Remmele, CPA
  A                              T: 309-671-2350
  Peoria, IL 61614-8303          E: mremmele@ginolicpa.com                Trade          D                                                                                  $547,000.00
  SNF Receivable Solutions
  LLC                            Ann Trimble
  PO Box 216                     T : 513-274-9612
  Thonotosassa, FL 33592         E: atrimble@snfreceivablesolutions.com   Trade          D                                                                                  $522,536.85


Official form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured claims                                   page 1
                                      Case 24-10528-TMH                     Doc 1           Filed 03/20/24              Page 33 of 42



 Debtor                SC Healthcare Holding, LLC et al.                                                    Case number (if known)
           Name

  Name of creditor and      Name, telephone number and email             Nature of      Indicate if claim   Amount of claim
  complete mailing address, address of creditor contact                  claim           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                                                     (for           unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                         example,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                         trade debts,                       Total claim, if            Deduction for value        Unsecured claim
                                                                         bank loans,                        partially secured          of collateral or setoff
                                                                         professional
                                                                         services,
                                                                         and
                                                                         government
                                                                         contracts)
  Medical Solutions LLC
  PO Box 850737                  Chris Wells -
  Minneapolis, MN 55485-         T: 402-524-4114
  0737                           E: Chris.Wells@medicalsolutions.com     Trade          D                                                                                  $498,863.25
  Favorite Healthcare Staffing   Miranda Dingman
  PO Box 26225                   T: 913-363-5966
  Overland Park, KS 66225        E: mhoeckelmann@favoritestaffing.com    Trade          D                                                                                  $465,489.79
  CliftonLarsonAllen LLP         Melissa A. Yoder, CPA
  PO Box 775967                  T: 309-495-8894
  Chicago, IL 60677-5967         E: Melissa.Yoder@claconnect.com         Trade          D                                                                                  $363,791.40
  RecoverCare LLC
  dba Joerns LLC                 Melia Crousore
  PO Box 936446                  T: 800-826-0270
  Atlanta, GA 31193-6446         E: melia.crousore@joerns.com            Trade          D                                                                                  $305,870.63
  Nurses PRN
  1101 East South River
  Street                         Tim Hansen
  Appleton, WI 54915             T: 920-734-7643                         Trade          D                                                                                  $254,626.27
  Newman Manor Inc/              Harold N. Adams
  C/O Newman Bank                Meyer Capel
  2481 US-36                     T: 217-352-1800 ext. 112
  Newman, IL 61942               E: hadams@meyercapel.com                Trade          D                                                                                  $225,133.85
  PointClickCare
  Technologies Inc.              Mary Ann Mirto
  PO Box 674802                  T: 877-501-1310 Ext. 5516
  Detroit, MI 48267-4802         E: maryann.mirto@smartlinx.com          Trade          D                                                                                  $235,013.54
  Datamax
  dba Sumner One                 Edmund Sumner
  PO Box 5180                    T: 314-616-4295
  St. Louis, MO 63139-0180       E: edmunds@sumnerone.com                Trade          D                                                                                  $187,774.35
  Health Advocates Network
  Inc.
  dba Horizons Healthcare
  1875 NW Corporate              Monica Liebal
  Boulevard, Suite 120           T: 309-469-2172
  Boca Raton, FL 33431           Email: Monica.Liebal@hanstaff.com       Trade          D                                                                                  $155,132.66
                                 Steve Cicciarelli
  PIPCO Companies LTD            T: 309-692-4060
  1409 West Altorfer Drive       E: SteveC@pipco-co.com
  Peoria, IL 61615                                                       Trade          D                                                                                  $144,429.86
  Sage Intacct Inc.
  Dept 3237                      Irene Aves
  PO Box 123237                  T: 408-709-4849
  Dallas, TX 75312-3237          E: irene.aves@sage.com                  Trade          D                                                                                  $131,551.58
  Shiftkey LLC                   Ryon Stewart
  PO Box 735913                  T: 469-947-9982
  Dallas, TX 75373               E: ryon.stewart@shiftkey.com            Trade          D                                                                                  $126,120.80
  Rentokil Pest Control          Tyler Shoemaker
  PO Box 14095                   T: 217-454-2140
  Reading, PA 19612              E: tyler.shoemaker@prestox.com          Trade          D                                                                                  $119,093.50
  Baker Tilly US LLP
  205 N Michigan Ave., 28th      Colin J. Walsh
  Floor                          T: 312-729-8043
  Chicago, IL 60601-5927         E: Colin.Walsh@bakertilly.com           Professional D                                                                                    $106,563.87
  Alvord, Wynona (Deborah L.
  Royse as Attorney-In-Fact
  for Wynona Alvord)
  Taxman, Pollock, Murray,
  and Bekkerman
  225 W. Wacker Dr., Ste.
  1650                           Colleen Mixan Mikaitis
  Chicago, IL 60606              T: 312-321-8414                         Litigation     D                                                                                      Unknown


Official form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured claims                                  page 2
                                       Case 24-10528-TMH                      Doc 1           Filed 03/20/24              Page 34 of 42



 Debtor                 SC Healthcare Holding, LLC et al.                                                     Case number (if known)
           Name

  Name of creditor and      Name, telephone number and email               Nature of      Indicate if claim   Amount of claim
  complete mailing address, address of creditor contact                    claim           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                                                       (for           unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                           example,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                           trade debts,                       Total claim, if            Deduction for value        Unsecured claim
                                                                           bank loans,                        partially secured          of collateral or setoff
                                                                           professional
                                                                           services,
                                                                           and
                                                                           government
                                                                           contracts)
  Bill, Judith
  Parker & Parker                 Robert Parker
  300 NE Perry Ave.               T: 309-237-0440
  Peoria, IL 61603                E: rob@parkerandparkerattorneys.com      Litigation     D                                                                                      Unknown
  Borries, James (Jane A
  Spiker & Jeffrey L. Borries,
  Independent Co-Executors
  of the Estate of James L.
  Borries, Sr., deceased)
  Sutterfield Law Offices
  208 S. Second St.               David Sutterfield
  Effingham, IL 62401             T: 217-342-3100                          Litigation     D                                                                                      Unknown
  Butler, Margaret (Daniel Hall
  Butler and Kevin Randall
  Butler, as Independent Co-
  Executors of the Estate of
  Ola Margaret Butler,
  deceased)
  Hopkins & Huebner, PC
  Northwest Bank Tower
  100 E. Kimberly Road, Suite     Glenn Ruud
  400                             T: 563-445-2254
  Davenport, IA 52806-5943        E: gruudhhlawpc.com                      Litigation     D                                                                                      Unknown
  Chamberland, Jeanette
  (Mary Williams, as
  Independent Executrix of
  the Estate of Jeanette
  Chamberland)
  Konicek & Dillon, PC
  70 W. Madison St., #2600        Thomas Dillon
  Chicago, IL 60602               T: 630-313-2071                          Litigation     D                                                                                      Unknown
  Denson, Kenneth (Kenneth
  C. Denson, II, as
  Independent Administrator
  of the Estate of Kenneth
  Clarence Denson, Sr.,
  deceased)
  Kralovec, Jambois &
  Schwartz
  60 W Randolph St., 4th          Eva Golabek
  Floor                           T: 312-782-2525
  Chicago, IL 60601               E: egolabek@sj-lawgroup.com              Litigation     D                                                                                      Unknown
  Downs, Mildred (Janet Van
  Gundy, as Independent
  Administrator of the Estate
  of Mildred M. Downs,
  deceased)
  The Law Offices of Steven
  J. Malman
  505 West University             Patricia Gifford
  Avenue, Suite 119               T: 888-407-2393
  Champaign, IL 61820             E: pgifford@malmanlaw.com                Litigation     D                                                                                      Unknown
  Hartsock, Edith (Kim U.
  Hartsock, as Independent
  Executor of the Estate of
  Edith S. Hartsock,
  deceased)
  The Law Offices of Steven
  J. Malman
  505 West University             Patricia Gifford
  Avenue, Suite 119               T: 888-407-2393
  Champaign, IL 61820             E: pgifford@malmanlaw.com                Litigation     D                                                                                      Unknown



Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured claims                                  page 3
                                      Case 24-10528-TMH                     Doc 1           Filed 03/20/24              Page 35 of 42



 Debtor                SC Healthcare Holding, LLC et al.                                                    Case number (if known)
           Name

  Name of creditor and      Name, telephone number and email             Nature of      Indicate if claim   Amount of claim
  complete mailing address, address of creditor contact                  claim           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code                                                     (for           unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                         example,           disputed        value of collateral or setoff to calculate unsecured claim.
                                                                         trade debts,                       Total claim, if            Deduction for value        Unsecured claim
                                                                         bank loans,                        partially secured          of collateral or setoff
                                                                         professional
                                                                         services,
                                                                         and
                                                                         government
                                                                         contracts)
  Owens, Jimmie (Angela
  Rich, as Independent
  Administrator of the Estate
  of Jimmie L. Owens,
  Deceased)
  Levin & Perconti
  325 North LaSalle Street,      Susan Novosad
  Suite 450                      T: 773-923-3083
  Chicago, IL 60654              E: sln@levinperconti.com                Litigation     D                                                                                      Unknown
  Qureshi, Mary Ellen (Mary
  Qureshi as Independent
  Administrator for the Estate
  of Mary Ellen Qureshi,
  deceased)
  Kralovec, Jambois &
  Schwartz
  60 W Randolph St., 4th         Jeffrey Li
  Floor                          T: 872-250-1069
  Chicago, IL 60601              E: jli@sj-lawgroup.com                  Litigation     D                                                                                      Unknown
  Smith, Russel
  Holder Law Group, LLP          Elizabeth Holder
  505 W University Ave., #218    T: 217-840-2652
  Champaign, IL 61820            E: betsy@holderlawpllp.com              Litigation     D                                                                                      Unknown
  Tipton, Rosie L. (Paul
  Harrington, as Independent
  Administrator of the Estate
  of Rosie L. Tipton,
  deceased)
  Katz Nowinski, PC              Aaron Curry
  1000 36th Ave.                 T: 309-797-3000
  Moline, IL 61265               E: acurry@katzlawfirm.com               Litigation     D                                                                                      Unknown
  Wellenreiter, Phyllis
  (Rhonda Umstattd, as
  Independent Adminstrator
  for the Estate of Phyllis
  Wellenreiter, deceased)
  Levin & Perconti
  325 North LaSalle Street,      Kara Rockey
  Suite 450                      T: 312-376-2014
  Chicago, IL 60654              E: kmr@levinperconti.com                Litigation     D                                                                                      Unknown
  Williams, Ola (Rosie
  Hendricks, as Independent
  Administrator of the Estate
  of Ola Williams, Deceased)
  Levin & Perconti
  325 North LaSalle Street,      Lauren Park
  Suite 450                      T: 312-376-2014
  Chicago, IL 60654              E: lep@levinperconti.com                Litigation     D                                                                                      Unknown
  Winters, Joe (John Winters,
  as Independent
  Representative of the Estate
  of Joe F. Winters)
  Taylor Law Offices, PC         Aaron Jones
  122 E. Washington Ave.         T: 217-342-3925
  Effingham, IL 62401            E: ajones@taylorlaw.net                 Litigation     D                                                                                      Unknown




Official form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured claims                                  page 4
               Case 24-10528-TMH               Doc 1      Filed 03/20/24        Page 36 of 42




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re
                                                                Chapter 11
SC HEALTHCARE HOLDING, LLC et al.,
                                                                Case No. 24 - ______ (___)
                               Debtors.   1
                                                                Joint Administration Requested

               CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                 TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

        Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor” and,

collectively, the “Debtors”) hereby state as follows:

        1.      The mailing address of all Debtors is c/o Petersen Health Care Management,

LLC, 830 West Trailcreek Dr., Peoria, IL 61614.

        2.      The following Debtors are wholly owned by Mark B. Petersen (“Mark Petersen”):

CYE Girard HCO, LLC
CYE Kewanee – PHC, Inc.
CYE Knoxville – PHC, Inc.
CYE Monmouth – PHC, Inc.
El Paso – PHC, Inc.
Flanagan – PHC, Inc.
Knoxville & Pennsylvania, LLC
Legacy – PHC, Inc.
Marigold – PHC, Inc.
MBP Partner, LLC (“MBP Partner”)

1
        The last four digits of SC Healthcare Holding, LLC’s tax identification number are 2584. The mailing
        address for SC Healthcare Holding, LLC is c/o Petersen Health Care Management, LLC 830 West
        Trailcreek Dr., Peoria, IL 61614. Due to the large number of debtors in these Chapter 11 Cases, for which
        the Debtors have requested joint administration, a complete list of the Debtors and the last four digits of
        their federal tax identification numbers is not provided herein. A complete list of such information will be
        made available on a website of the Debtors’ proposed claims and noticing agent at
        www.kccllc.net/Petersen.
             Case 24-10528-TMH       Doc 1   Filed 03/20/24   Page 37 of 42




Midwest Health Properties, LLC
Petersen Health Care – Illini, LLC
Petersen Health Care – Roseville, LLC
Petersen Health Care II, Inc.
Petersen Health Care III, LLC
Petersen Health Care Management, LLC
Petersen Health Care V, LLC
Petersen Health Care VIII, LLC
Petersen Health Care X, LLC
Petersen Health Care XI, LLC
Petersen Health Care XIII, LLC
Petersen Health Care, Inc.
Petersen Health Systems, Inc.
Petersen MT3, LLC
Petersen MT4, LLC
Petersen Roseville, LLC
Polo – PHC, Inc.

       3.     Debtors Petersen Health Network, LLC and Petersen Health Properties, LLC are

owned 99% by Mark Petersen and 1% by MBP Partner.

       4.     Debtors SABL, LLC (“SABL”) and SC Healthcare Holding, LLC (“SC Holding”)

are both owned 41.04% by Mark Petersen, 31.88% by Debtor, Petersen Health Care II, Inc.,

19.18% by Debtor, Petersen Health Care, Inc., and 7.9% by Debtor, Petersen Health Systems,

Inc.

       5.     The following Debtors are owned 99% by Mark Petersen and 1% by SABL:

Midwest Health Operations, LLC
Petersen Health & Wellness, LLC
Petersen Health Business, LLC
Petersen Health Care VII, LLC
Petersen Health Enterprises, LLC
Petersen Health Group, LLC
Petersen Health Quality, LLC
War Drive, LLC

       6.     The following Debtors are wholly owned by SC Holding:

Aledo RE, LLC
Arcola RE, LLC
Aspen RE, LLC

                                             2
            Case 24-10528-TMH     Doc 1   Filed 03/20/24   Page 38 of 42




Bement RE, LLC
Bradford AL RE, LLC
Bushnell AL RE, LLC
Collinsville RE, LLC
CYV Kewanee AL RE, LLC
Decatur RE, LLC
Eastview RE, LLC
Effingham RE, LLC
Havana RE, LLC
Kewanee, LLC
Lebanon RE, LLC
McLeansboro RE, LLC
North Aurora, LLC
Petersen 25, LLC
Petersen Farmer City, LLC
Piper RE, LLC
Pleasant View RE, LLC
Prairie City RE, LLC
Robings, LLC
Rosiclare RE, LLC
Royal RE, LLC
Shangri La RE, LLC
Shelbyville RE, LLC
Sullivan AL RE, LLC
Sullivan RE, LLC
Swansea RE, LLC
Tarkio RE, LLC
Tuscola RE, LLC
Twin RE, LLC
Vandalia RE, LLC
Walcott AL RE, LLC
Watseka RE, LLC
Westside RE, LLC


      7.    The following Debtors are owned 99% by SABL and 1% by Mark Petersen:

Aledo HCO, LLC
Arcola HCO, LLC
Aspen HCO, LLC
Bement HCO, LLC
Casey HCO, LLC
Collinsville HCO, LLC
CYE Bradford HCO, LLC
CYE Bushnell HCO, LLC
CYE Sullivan HCO, LLC

                                          3
             Case 24-10528-TMH       Doc 1    Filed 03/20/24    Page 39 of 42




CYE Walcott HCO, LLC
Decatur HCO, LLC
Eastview HCO, LLC
Effingham HCO, LLC
Havana HCO, LLC
Kewanee HCO, LLC
Lebanon HCO, LLC
McLeansboro HCO, LLC
North Aurora HCO, LLC
Petersen Health Care – Farmer City, LLC
Piper HCO, LLC
Pleasant View HCO, LLC
Prairie City HCO, LLC
Robings HCO, LLC
Rosiclare HCO, LLC
Royal HCO, LLC
Shangri La HCO, LLC
Shelbyville HCO, LLC
Sullivan HCO, LLC
Swansea HCO, LLC
Tarkio HCO, LLC
Tuscola HCO, LLC
Twin HCO, LLC
Vandalia HCO, LLC
Village Kewanee HCO, LLC
Watseka HCO, LLC
Westside HCO, LLC


       8.     The following Debtors are wholly owned by Petersen Health Systems, Inc.:

Betty’s Garden RE, LLC
Betty’s Garden HCO, LLC
XCH, Inc.


      9.      The following Debtors are wholly owned by Petersen Health Care II, LLC:

Petersen 23, LLC
Petersen 26, LLC
Petersen 27, LLC
Petersen 29, LLC
Petersen 30, LLC
Petersen Management Company, LLC
Petersen MT, LLC



                                             4
             Case 24-10528-TMH       Doc 1    Filed 03/20/24    Page 40 of 42




    10.       The following Debtors are wholly owned by Petersen Health Care III, LLC:
Jonesboro, LLC
Macomb, LLC
South Elgin, LLC

    11.       The following Debtors are owned 99% by Mark Petersen and 1% by CYE
              Kewanee – PHC, Inc.:

CYE Kewanee HCO, LLC
Kewanee AL, LLC

    12.       The following Debtors are owned 99% by Mark Petersen and 1% by CYE
              Knoxville – PHC, Inc.:

CYE Knoxville HCO, LLC
Knoxville AL, LLC

    13.       The following Debtors are owned 99% by Mark Petersen and 1% by CYE
              Monmouth – PHC, Inc.:

CYE Monmouth HCO, LLC
Monmouth AL, LLC

    14.       The following Debtors are owned 99% by Mark Petersen and 1% by El Paso –
              PHC, Inc.:

El Paso HCC, LLC
El Paso HCO, LLC

   15.        The following Debtors are owned 99% by Mark Petersen and 1% by Flanagan –
              PHC, Inc.:

Flanagan HCC, LLC
Flanagan HCO, LLC

    16.       The following Debtors are owned 99% by Mark Petersen and 1% by Legacy -
              PHC, Inc.:

Legacy Estates AL, LLC
Legacy HCO, LLC

    17.       The following Debtors are owned 99% by Mark Petersen and 1% by Marigold –
              PHC, Inc.:

Marigold HCC, LLC

                                             5
           Case 24-10528-TMH        Doc 1    Filed 03/20/24        Page 41 of 42




Marigold HCO, LLC

   18.      The following Debtors are owned 99% by Mark Petersen and 1% by Polo – PHC,
            Inc.:

Polo HCO, LLC
Polo, LLC

   19.      Debtor SJL Health Systems, Inc. is a Not-For-Profit.




                                            6
                             Case 24-10528-TMH                     Doc 1           Filed 03/20/24         Page 42 of 42




Fill in this information to identify the case:

Debtor name         Petersen Health Care, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration      Consolidated Corporate Ownership Statement and List of Equity Interest
                                                                Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on                 3/20/2024             X          /s/ David R. Campbell
                                                             Signature of individual signing on behalf of debtor

                                                                        David R. Campbell
                                                             Printed name

                                                                        Authorized Signatory
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
